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                                      49TH DISTRICT COURT

                                              CASE SUMMARY
                                           CASE No.2017CVA000689D1
 GERARDO RODRIGUEZ vs. CARLOS                                                       Location: 49th District Court
 ELIAS,HUMBERTO PULIDO LARA                                                  Judicial Officer: Lopez, Jose A.
                                                                                     Filed on: 04/06/2017


                                                 CASE                 ON

                                                                                            Injury or Damage - Motor
                                                                                 Case Type:
                                                                                            Vehicle
                                                                                   Subtype: Motor Vehicle Accident


     DATE                                         CASE ASSIGNMENT

                 Current Case Assignment
                 Case Number                  2017CVA000689D1
                 Court                        49th District Court
                 Date Assigned                04/06/2017
                 Judicial Officer             Lopez, Jose A,




                                                 PARTY IN1 ORMf -noN
                                                                                                    Lead Attorneys
Plaintiff           RODRIGUEZ, GERARDO                                                            VILLARREAL,JAVIER
                                                                                                                  Retained
                                                                                               9565444444 x9565500877(W)
Defendant           ELIAS,CARLOS GAYTAN

                    PULIDO LARA,HUMBERTO RICARDO

     DATE                                   EVENTS & ORDERS     'I'                                          INDEX

  04/06/2017        Original Petition
                   PLAINTIFF'S ORIGINAL PETITION REQUEST FOR ADMISSIONS,INTERROGATORIES
                   AND REQUEST FOR PRODUCTION

 04/06/2017      Civil Case Filed(OCA)

 04/12/2017      Notes-Miscellaneous
                    NO ISSUANCE AT THIS TIME-DUE $4.00 FOR ISSUANCE

 04/12/2017      cril Calendar Call
                    CALENDAR CALL FAXED TO ATTORNEY


 04/12/2017      rrll Letter
                    LEITER FROM VILLARREAL AND BEGUMIN RE: PAYAIENT FOR ISSUANCE

 04/12/2017          Citation-Issuance
                   (2) CITATIONS ISSUED AS TO CARLOS GA YTAN ELIAS D/B/A SUPER TRANSPORTES
                   GA YTAN. PLACED IN THE PRIVATE SERVER BASKET FOR SERVICE.

 04/12/2017      Citation
                 ELIAS, CARLOS GAYTAN
                 Served: 04/13/2017


 04/12/2017      1,0 Citation-Issuance
                   (3) CITATIONSISSUED AS TO HUMBERTO RICARDO PULIDO LARA BY SERVING THE



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                                                                           EXHIBIT 1                     Printed on 06/20/2017 at 9:57 AM
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                                49Th DISTRICT COURT

                                         CASE SUMMARY
                                       CASE No.2017CVA000689D1
               CHAIRPERSON OF THE TEXAS TRANSPORTATION COMMISSION C/O TRYON D.
               LEWIS. PLACED IN THE PRIVATE SERVER BASKET FOR SERVICE.

04/12/2017   Citation
             PULIDO LARA, HUMBERTO RICARDO
             Served: 04/13/2017

04/24/2017   4i., Citation Return-Executed
                CITATION RETURNED EXECUTED AS TO HUMBERTO RICARDO PULIDO LARA BY
                SERVING THE CHAIRPERSON OF THE TEXAS TRANSPORTATION COMMISSION BY
                CERTIFIED MAIL DOS 4/13/17


05/01/2017      Citation Return-Executed
               CITATION RETURNED EXECUTED AS TO CARLOS GAYTAN ELIAS D/B/A SUPER
               TRANSPORTES GAYTAN BY SERVING ITS REGISTERED AGENT: ALFREDO ALARCDON
               SLAS BY CERTIFIED MAIL DOS 4/13/17

07/06/2017   Calendar Call (1:30 PM)
  DATE                                            FINANCIAL INFORMATION

             Attorney VILLARREAL,JAVIER
             Total Charges                                                                                         78.00
             Total Payments and Credits                                                                            78.00
             Balance Due as of 6/20/2017                                                                            0.00

             Plaintiff RODRIGUEZ, GERARDO
             Total Charges                                                                                        292.00
             Total Payments and Credits                                                                           292.00
             Balance Due as of 6/20/2017                                                                            0.00




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                                                                                                         Filed
                                                                                        4/6/2017 5:33:04 PM
                                                                                            Esther Degollado
                                                                                                District Clerk
                                                                                                Webb District
                                                                                         Esmeralda Alvarado
                          CAUSE NO.    2ci1 cvpt OOD(Del Di                              2017CVA000689D1


 GERARDO RODRIGUEZ                              IN THE DISTRICT COURT
 Plaintiff,

 V.                                             4clik JUDICIAL DISTRICT

 CARLOS GAYTAN ELIAS D/B/A
 SUPER TRANSPORTES GAYTAN
 AND HUMBERTO RICARDO
 PULIDO LARA
 Defendants                                     WEBB COUNTY, TEXAS

                    PLAINTIFF'S ORIGINAL PETITION
                REQUEST FOR DISCLOSURE, REQUESTS
  FOR ADMISSIONS, INTERROGATORIES, AND REQUESTS FOR PRODUCTION

TO THE HONORABLE JUDGE OF SAID COURT:

      NOW COMES PLAINTIFF, GERARDO RODRIGUEZ, complaining of and about,

CARLOS GAYTAN ELIAS D/B/A SUPER TRANSPORTES GAYTAN,AND HUMBERTO

RICARDO PULIDO LARA, hereinafter called Defendants, and for cause of action shows

unto the Court the following:

                                     1.
                        DISCOVERY CONTROL PLAN LEVEL

      1.1    Discovery shall be conducted under Level 3 pursuant to Rule 190.4 of the

Texas Rules of Civil Procedure.

                                        2.
                                DISCOVERY INCLUDED

      2.1    This Petition includes Plaintiff's Requests for Disclosure, Interrogatories,

Requests for Admission, and Requests for Production.




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                                          3.
                                 PARTIES AND SERVICE

       3.1    Plaintiff, Gerardo Rodriguez, an individual whose address is: 205 W. San

Carlos Street Apt. 3, Laredo, Texas 78041, and brings this action individually.

       3.3    Defendant, Carlos Gaytan Elias D/B/A Super Transportes Gaytan, is a

Foreign Company stationed in Mexico and is organized under the laws of the State of

Mexico. Service of process on the Defendant may be effected pursuant to article 2.11(A)

of the Texas Business Organizations Code, by serving the registered agent of the

corporation, Alfredo Alarcon Slas, 801 Pellegrino, Laredo, Texas 78045, its registered

office. Service of said Defendant as described above can be effected by certified mail.

       3.4    Defendant, Humberto Ricardo Pulido Lara, is an Individual who resides in

Mexico, and may be served with process by serving the Chairperson of the Texas

Transportation Commission, Tryon D. Lewis, at 125 E, 11th Street, Austin, Texas 78701,

who can forward process to Juan Humberto Ricardo Pulido Lara at the following address:

818 Rio Cordan, Nuevo Laredo, Tamaulipas, Mexico.

                                         4.
                               JURISDICTION AND VENUE

       4.1    The subject matter in controversy is within thejurisdictional limits of this court.

This court has jurisdiction over Defendants, Humberto Ricardo Pulido Lara, and Carlos

Gaytan Elias D/B/A Super Transportes Gaytan because said Defendants purposefully

availed itself of the privilege of conducting activities in the state of Texas and established

minimum contacts sufficient to confer jurisdiction over said Defendants. Furthermore, the

assumption of jurisdiction over Humberto Ricardo Pulido Lara, and Carlos Gaytan Elias


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D/B/A Super Transportes Gaytan will not offend traditional notions of fair play and is

consistent with the constitutional requirements of due process.

       4.2     Venue in Webb County is proper in this cause under Section 15.002(a)(1)of

the Texas Civil Practice and Remedies Code because all or a substantial part of the events

or omissions giving rise to this lawsuit occurred in this county.

                                          5.
                                 FACTUAL BACKGROUND

                                         The Incident

       5.1    This lawsuit concerns an auto-pedestrian collision which occurred on April

10, 2015. The collision occurred between Plaintiff, Gerardo Rodriguez and a 1998

International tractor trailer driven by the Defendant, Humberto Ricardo Pulido Lara under

the authority and control of Defendants, Carlos Gaytan Elias D/B/A Super Transportes

Gaytan.

       5.2    The auto-pedestrian collision occurred on a Friday afternoon in a Uni-Trade

Group parking lot located on 130 Flecha Lane, within the city limits of Laredo, Texas.

       5.3    Immediately prior to and at the time of the incident, Plaintiff, Gerardo

Rodriguez was a pedestrian standing inside the Uni-Trade Group parking lot, wearing a

traffic vest. At the same time, Defendant, Humberto Ricardo Pulido Lara was entering the

same parking lot. The incident ensued when Humberto Ricardo Pulido Lara proceeded to

enter the parking lot and collided into Plaintiff.

       5.4   The following is a sketch excerpted from the official police report which was

made by the police officer who investigated the collision, Officer Janice A. Bruce, Id No.

5967, of the Laredo Police Department:

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                                         The Injuries

       5.5    Gerardo Rodriguez suffered physical and emotional injuries as a result ofthis

collision. Mr. Rodriguez was diagnosed with thoracic, lumbar, cervical and left ankle

sprains/strains, multiple disc bulges and herniations to his lower back and neck. Mr.

Rodriguez has undergone extensive physical therapy, daily medication and multiple

injections to control the pain caused by the injuries sustained in this vehicular collision. In

all probability Mr. Rodriguez will continue to incur medical expenses in the future to

alleviate his pain. Mr. Rodriguez was healthy prior to this collision.

               The Employment Relationship Between the Defendants and
                          The Resulting Vicarious Liability

       5.6    At the time of the collision which is the subject of this cause of action, and at

all other relevant times, Humberto Ricardo Pulido Lara was an employee of Defendant,

Carlos Gaytan Elias D/B/A Super Transportes Gaytan, who was acting within the course

and scope of his employment. In this regard, Humberto Ricardo Pulido Lara was an

employee insofar as the master-servant relationship under common law is concerned.

       5.7    At all relevant times herein, Defendant, Carlos Gaytan Elias D/B/A Super

Transportes Gaytan had exclusive control over the vehicle which Humberto Ricardo Pulido

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Lara was operating, and as such, Defendant, Carlos Gaytan Elias D/B/A Super

Transportes Gaytan is deemed to have assumed complete responsibility for the operation

of the vehicle at all relevant times. Humberto Ricardo Pulido Lara was engaged in

accomplishing a task for which he was employed.

      5.8    Alternatively, Defendant, Carlos Gaytan Elias D/B/A Super Transportes

Gaytan are vicariously liable with respect to all negligence of Humberto Ricardo Pulido

Lara under the traditional common-law doctrines of the master-servant relationship and

respondeat superior.

                                       6.
               — NEGLIGENCE AGAINST HUMBERTO RICARDO PULIDO LARA
                           & RESPONDEAT SUPERIOR —

      6.1    Defendant, Humberto Ricardo Pulido Lara had a duty to exercise the degree

of care that a reasonably careful person would use to avoid harm to others under

circumstances similar to those described herein.

      6.2    The negligent, careless and reckless disregard of duty of Defendant

Humberto Ricardo Pulido Lara consisted of, but is not limited to, the following acts and

omissions:

             6.2.1 In that Defendant, Humberto Ricardo Pulido Lara was operating his
                   motor vehicle at a rate of speed which was greater than that would
                   have been operated by a person of ordinary prudence under the
                   same or similar circumstances;

             6.2.2 In failing to yield the right of way to Plaintiff as would have been done
                   by an ordinary prudent person of the same age, experience,
                   intelligence and capacity, in the exercise of ordinary care, acting in the
                   same or similar circumstances in violation of §545.155 of the Texas
                   Transportation Code;


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             6.2.3 In that Defendant, Ismael Garza failed to control his speed as
                   would have been done by an ordinary prudent person of the same
                   age, experience, intelligence and capacity, in the exercise of
                   ordinary care, acting in the same or similar circumstances in
                   violation of §545.351 of the Texas Transportation Code;

             6.2.4 In failing to keep a proper lookout for Plaintiff's safety as would have
                   been maintained by a person of ordinary prudence under the same or
                   similar circumstances;

             6.2.5 In placing Plaintiff in a position of peril due to Defendant, Humberto
                   Ricardo Pulido Lara's lack of due care and exercise of ordinary
                   prudence of a person of his maturity and capacity § 545.401 of the
                   Texas Transportation Code;

             6.2.6 In failing to exercise reasonable care to protect the safety of others
                   who are using the roadways;

             6.2.7 In failing to take evasive action to avoid colliding with Plaintiff's
                   vehicle; and/or

             6.2.8 In failing to use the vehicle's horn, lights, and/or other equipment to
                   warn Plaintiff of the impending collision.

      6.3    Plaintiff's injuries were proximately caused by Defendant, Humberto Ricardo

Pulido Lara's negligent, careless and reckless disregard of said duty.

      6.4    Plaintiff invokes the doctrine of Respondeat Superior against Defendants,

Carlos Gaytan Elias D/B/A Super Transportes Gaytan and/or Webb County for the

negligent act of its employee, Humberto Ricardo Pulido Lara.

                                      7.
     —NEGLIGENCE OF CARLOS GAYTAN ELIAS D/B/A SUPER TRANSPORTES GAYTAN —

      7.1    On April 10, 2015, Defendant, Carlos Gaytan Elias D/B/A Super Transportes

Gaytan was the owner of the motor vehicle operated by Humberto Ricardo Pulido Lara.

Defendant, Carlos Gaytan Elias D/B/A Super Transportes Gaytan negligently entrusted


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the vehicle to Humberto Ricardo Pulido Lara, a reckless and incompetent driver.

Defendant knew, or through the exercise of reasonable care should have known, that

Humberto Ricardo Pulido Lara was a reckless and incompetent driver.

        7.2   Furthermore,and alternatively, Defendants, Carlos Gaytan Elias D/B/A Super

Transportes Gaytan owed Plaintiff a duty to hire, supervise, train and retain competent

employees. Defendant breached that duty by negligently training, supervising, hiring and

retaining Defendant, Humberto Ricardo Pulido Lara, consisting of, but not limited to the

following:

              7.2.1 In failing to exercise ordinary care in implementing adequate training
                    procedures for drivers;

              7.2.2 In failing to exercise ordinary care in implementing adequate
                    continued education for all drivers;

              7.2.3 In failing to exercise ordinary care in implementing adequate
                    supervision procedures;

              7.2.4 In failing to adequately screen Humberto Ricardo Pulido Lara's driving
                    record prior to hiring him; and/or

              7.2.5 In failing to exercise ordinary care in determining whether Humberto
                    Ricardo Pulido Lara was competent enough to be hired.

        7.3   Each of the aforementioned negligent acts or omissions of the Defendant

constituted a proximate cause of the collision resulting in damages and injuries to the

Plaintiff.
                                         8.
                      DAMAGES FOR PLAINTIFF, GERARDO RODRIGUEZ

        8.1   As a direct and proximate result of the occurrence made the basis of this

lawsuit, Plaintiff, Gerardo Rodriguez was caused to suffer bodily injuries, and to incur the

following damages:

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               8.1.1 Reasonable medical care and expenses in the past. These expenses
                     were incurred by Plaintiff, Gerardo Rodriguez for the necessary care
                     and treatment of the injuries resulting from the accident complained
                     of herein and such charges are reasonable and were usual and
                     customary charges for such services in Webb County, Texas;

               8.1.2 Reasonable and necessary medical care and expenses which will in
                     all reasonable probability be incurred in the future;

               8.1.3 Physical pain and suffering in the past and in the future;

               8.1.4 Physical impairment in the past and which, in all reasonable
                     probability, will be suffered in the future;

               8.1.5 Loss of earning capacity in the past and which will, in all probability,
                     be incurred in the future; and

               8.1.6 Mental anguish in the past and in the future.

                                          9.
                        REQUEST FOR DISCLOSURES TO DEFENDANTS

       9.1     Pursuant to Rule 194, you are requested to disclose, within 50 days after

service of this request, the information or material described in Rule 194.2(a)-(l) at the

address of the attorney for Plaintiff.

                                        10.
              REQUEST FOR INTERROGATORIES AND PRODUCTION TO DEFENDANT
                           HUMBERTO RICARDO PULIDO LARA

       10.1    Plaintiff propounds the following Interrogatories pursuant to Rule 197 and

Request for Production pursuant to Rule 196 of the Texas Rules of Civil Procedure. You

are instructed to answer the following Interrogatories separately, fully, and under oath if

required by Rule 197.2 Answers are due to Plaintiff counsel's address within 50 days from

service of these Interrogatories. Demand is made that you supplement your answers to

these Interrogatories as required by Rule 193.5. You are further instructed to produce or

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permit the undersigned attorney to inspect and copy or reproduce the requested items at

the offices of Plaintiff's attorney. Responses are due within 50 days of service of these

Requests for Production. You are asked to supplement your responses as required under

the Rules.

                                     Interrogatories

             10.1.1        Please state your full name, address, telephone number, date
                           of birth, driver's license number and occupation.

             10.1.2        Please state where you were employed on April 10, 2015 and
                           whether you were acting within the course and scope of any
                           employment,service or agency at the time of the collision, and
                           describe the relationship of the persons involved.

             10.1.3        Any insurance policy that may cover the accident(i.e. umbrella
                           coverage/ homeowners insurance/ additional policies)?

             10.1.4        Please provide a list of all vehicles presently insured by you
                           and provide the name of the insurance company along with the
                           policy numbers.

             10.1.5        Please state where you had been just prior to the collision,
                           where you were going at the time of the collision, and the
                           purpose of the trip.

             10.1.6        Describe in your own words how the collision occurred and
                           state specifically and in detail what the claim or contention of
                           the defendant will be regarding any cause or contributing
                           cause of the collision, including a statement in detail of the
                           facts or information upon which the contention is based.

             10.1.7        Describe in detail any conversations you had with the Plaintiff,
                           any other party or witness to the accident. Specifically, please
                           detail to the best of your recollection what each person said.

             10.1.8        Describe any physical injuries that you witnessed sustained by
                           the Plaintiff or any other person involved in the accident.




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          10.1.9     Describe any physical injuries sustained by you as a result of
                     the accident and the names of the medical providers that have
                     treated you for these injuries.

          10.1.10    Have you, your agents, investigators or attorneys or anyone
                     acting on your behalf obtained a written or recorded statement
                     of any kind, report or memorandum, whether recorded
                     stenographically transcribed, oral or otherwise from any
                     person. If so, please identify the individual from whom the
                     statement was taken and the date the statement was taken.
                     If so, then please also indicate your willingness to allow
                     Plaintiff to inspect and copy or photocopy the same.

          10.1.11    As to each motor vehicle accident you have been involved in
                     and each traffic violation for which you have either: paid a fine
                     or attended a school in lieu of a fine, give the following
                     information:(a)Where it occurred (State, City, County, Court);
                     (b) When it occurred (Month, Day, Year); © injuries claimed
                     and when and where any claims or suits were filed; (d) Final
                     disposition or current status of each traffic violation and
                     accident.

          10.1.13    What was the disposition of the citation you received? Did you
                     enter a plea and pay a fine or did you pay a fine with deferred
                     adjudication (i.e. did it go on your record)?

          10.1.14    Was anyone transported to the hospital as a result of the
                     accident? If so, how many people did you witness transported?

          10.1.15    Can you please provide your cellular phone number at the time
                     of the accident and provide the name of the service provider?

          10.1.16    Were you distracted in any way prior to the collision in
                     question?

          10.1.17    Did you speak to the police officer at the scene of the
                     accident? If your answer is "yes" please state what was said
                     between you and the officer.

          10.1.18    Describe any criminal record you may have, including the
                     nature of the charge, date and place of arrest, and convictions,
                     if any.



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          10.1.19    State in detail what intoxication beverages, if any, you had
                     consumed and what drugs and medications, if any, you had
                     taken during the 24 hour period immediately preceding the
                     collision.

                        Documents to be Produced

          10.1.20    A photocopy of Defendant's Driver's License.

          10.1.21    A photocopy of all insurance coverage(s) and Declaration
                     Page(s)for all of the Defendant's vehicles, including the one
                     in question.

          10.1.22    A photocopy of any excess or umbrella policies that could
                     potentially cover the incident.

          10.1.23    A copy of all photographs taken of Defendant's vehicle after
                     the accident by the insurance company, any of its
                     representatives or by the Defendant personally.

          10.1.24    A copy of all repair estimates and/or repair invoices for
                     Defendant's vehicle.

          10.1.25    All photographs taken in connection with Plaintiff's cause of
                     action in the possession, constructive possession, custody or
                     control of HUMBERTO RICARDO PULIDO LARA's attorney,
                     Defendant's insurance company and/or anyone acting on
                     HUMBERTO RICARDO PULIDO LARA's behalf.

          10.1.26    All written statements made by HUMBERTO RICARDO
                     PULIDO LARA, in the possession, constructive possession,
                     custody or control of HUMBERTO RICARDO PULIDO LARA,
                     HUMBERTO RICARDO PULIDO LARA's attorney or anyone
                     acting on HUMBERTO RICARDO PULIDO LARA's behalf.

          10.1.27    All oral statements made by HUMBERTO RICARDO PULIDO
                     LARA, which were either recorded or taped on any electronic
                     device or recorder which are in the possession, constructive
                     possession, custody or control of HUMBERTO RICARDO
                     PULIDO LARA, HUMBERTO RICARDO PULIDO LARA's
                     attorney, Defendant's insurance company and/or anyone
                     acting on HUMBERTO RICARDO PULIDO LARA's behalf.



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             10.1.28       A curriculum vitae or resume for any and all consulting expert
                           whose mental impressions or opinions have been reviewed by
                           a testifying expert.

             10.1.29       The curriculum vitae and reports prepared by any testifying
                           experts in conjunction with the case.

             10.1.30       Any and all drawings, maps, or sketches of the scene of the
                           accident which has made the basis of the suit.

             10.1.31       A copy of any contract of employment that would govern
                           relationship with any other party or bear on the issue of scope
                           of employment.

             10.1.32       A copy of any surveillance movies, photos, etc. of Plaintiff.

             10.1.33       A list of the names and addresses of witnesses with
                           knowledge of facts.

             10.1.34       A copy of your cell phone bill for the month of April 2015.

                                           11.
             REQUEST FOR ADMISSIONS TO HUMBERTO RICARDO PULIDO LARA

      11.1   Plaintiff makes the following Requests for Admission pursuant to Rule 198

of the Texas Rules of Civil Procedure. Responses are due 50 days after service of these

Requests, and should be made to the address of Plaintiff's attorney. You must specifically

admit or deny each Request. A failure to specifically answer any Request, or an evasive

answer to any Request, will be taken as an admission of truth of such Request.

                           Admit that HUMBERTO RICARDO PULIDO LARA was the
                           driver of the 1998 International tractor trailer that was involved
                           in the incident made the basis of the suit.

             11.1.2        Admit that at the time of the collision made the basis of the suit
                           you were acting within the course and scope of your
                           employment.




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          11.1.3      Admit that HUMBERTO RICARDO PULIDO LARA did not
                      maintain a proper lookout at the time of the incident made the
                      basis of the suit.

         11.1.4      Admit that HUMBERTO RICARDO PULIDO LARA failed yield
                     the right of way to the pedestrian, thereby causing the accident
                     made the basis of the suit.

         11.1.5      Admit that HUMBERTO RICARDO PULIDO LARA failed to
                     control his speed, thereby causing the accident made the basis
                     of the suit.

         11.1.6      Admit that HUMBERTO RICARDO PULIDO LARA was
                     operating his vehicle at an unsafe speed at the time of the
                     collision, thereby causing the accident made the basis of the
                     suit.

         11.1.7      Admit that PLAINTIFF were injured as a result direct and
                     proximate result of HUMBERTO RICARDO PULIDO LARA's
                     negligence.

         11.1.8      Admit that GERARDO RODRIGUEZ has incurred reasonable
                     and necessary medical expenses as a direct result of the
                     incident which is the subject of the lawsuit.

         11.1.9      Admit that GERARDO RODRIGUEZ will incur reasonable and
                     necessary future expenses as a direct result of the incident
                     which is the subject of the lawsuit.

         11.1.10     Admit that GERARDO RODRIGUEZ's non-economic damages
                     are as a direct result of the incident which is the subject of the
                     lawsuit.

         11.1.11     Admit that GERARDO RODRIGUEZ incurred damages as a
                     direct result of the incident which is the subject of the lawsuit.

         11.1.12     Admit that GERARDO RODRIGUEZ has incurred physical pain
                     and suffering damages in the past, and will continue to incur
                     physical pain and suffering damages in the future.

         11.1.13     Admit that GERARDO RODRIGUEZ has incurred lost wages
                     and loss of earning capacity in the past, and will continue to
                     incur lost wages and loss of earning capacity in the future.


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              11.1.14        Admit that GERARDO RODRIGUEZ has suffered mental
                             anguish in the past and in the future.

                                        12.
              REQUEST FOR INTERROGATORIES AND PRODUCTION TO DEFENDANT
                CARLOS GAYTAN ELIAS D/B/A SUPER TRANSPORTES GAYTAN

       12.1   Plaintiff propounds the following Interrogatories pursuant to Rule 197 and

Requestfor Production pursuant to Rule 196 of the Texas Rules of Civil Procedure. You are

instructed to answer the following Interrogatories separately,fully, and under oath if required

by Rule 197.2 Answers are due to Plaintiff counsel's address within 50 days from service

of these Interrogatories. Demand is made that you supplement your answers to these

Interrogatories as required by Rule 193,5. You are further instructed to produce or permit

the undersigned attorney to inspect and copy or reproduce the requested items at the

offices of Plaintiff's attorney. Responses are due within 50 days of service of these

Requests for Production. You are asked to supplement your responses as required under

the Rules.

                                       Interrogatories

              12.1.1        Please state the full name, address,telephone number, date of
                            birth, driver's license number, and occupation of the person
                            answering these interrogatories. If you are answering these
                            interrogatories as the authorized representative of the CARLOS
                            GAYTAN ELIAS D/B/A SUPER TRANSPORTES GAYTAN,
                            please state your full and correct title and position within the
                            organizational structure of the CARLOS GAYTAN ELIAS D/B/A
                            SUPER TRANSPORTES GAYTAN

              12.1.2        Please state the name(s)of the registered owner of the vehicle
                            that HUMBERTO RICARDO PULIDO LARA was operating on
                            April 10, 2015.




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         12.1.3      Please state the name of the person or company that employed
                     HUMBERTO RICARDO PULIDO LARA to operate the vehicle
                     on April 10, 2015 and by whom he was being compensated;
                     how he was being compensated (Le.job; contract; by the hour)
                     and how much.

         12.1.4      Please explain whether HUMBERTO RICARDO PULIDO LARA
                     was operating the vehicle with the Defendant's permission
                     when this accident occurred and whether he was in the process
                     of furthering the interests of the Defendant,just minutes before
                     the accident happened.

         12.1.5      Please state the address, telephone number, date of birth,
                     driver's license number of HUMBERTO RICARDO PULIDO
                     LARA and whether he is still employed by the Defendant.

         12.1.6      What is the name of HUMBERTO RICARDO PULIDO LARA's
                     direct supervisor?

         12.1.7      Describe your understanding as to how the collision occurred
                     and state specifically and in detail what the claim or contention
                     of the defendant will be regarding any contributing cause of the
                     collision, including a statement of the facts or information upon
                     which this contention is based.

          12.1.8     Was the vehicle operated by HUMBERTO RICARDO PULIDO
                     LARA on April 10, 2015 damaged in any way as a result of this
                     incident? If so, please describe in detail the damages sustained
                     by this vehicle and the estimated and/or actual cost of repairs.

          12.1.9     What is the business purpose of the Defendant and how does
                     is it relate to the vehicle operated by HUMBERTO RICARDO
                     PULIDO LARA on April 10, 2015?

         12.1.10     Other than the police report, does the Defendant have in its
                     possession any written or oral statements made by the Plaintiff,
                     HUMBERTO RICARDO PULIDO LARA or anyone having first
                     hand knowledge of the events that are the subject of this
                     lawsuit, including but not limited to: recorded statements; written
                     statements; and/or post-accident report(s) submitted to
                     insurance carrier or employer?




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         12.1.11      Are you aware of any conversations HUMBERTO RICARDO
                     PULIDO LARA had with the Plaintiff or any other party or
                     witness to this accident. Specify as best as possible what each
                     person said.

         12.1.12     State the name, address and telephone number of the person
                     or company responsible for performing regular maintenance
                     and/or repairs on the tractor-trailer operated by HUMBERTO
                     RICARDO PULIDO LARA on April 10, 2015.

         12..13      Describe in detail what injuries, if any, HUMBERTO RICARDO
                     PULIDO LARA received in the collision. If he filed any worker's
                     compensation claims for injuries allegedly suffered in the
                     accident in question, describe his claimed injuries, give the
                     name of the workers' compensation company involved in his
                     claim, tell when and where he filed his claim and the name and
                     address of the lawyer, if any, who is assisting HUMBERTO
                     RICARDO PULIDO LARA in the claim.

         12.1.14     Please explain in detail the application process by which you
                     consider driver's for employment, including but not limited to,
                     written information requested; record checks; references; drug
                     tests; driving tests; written tests.

         12.1.15     Please explain your policy regarding the frequency and
                     method(s) of supervision of a driver such as HUMBERTO
                     RICARDO PULIDO LARA.

         12.1.16     Please list the names and/or types of employment manuals,
                     policy manuals,safety manuals,training manuals and any other
                     manuals given to HUMBERTO RICARDO PULIDO LARA
                     during his employment with you.

         12.1.17    As to each motor vehicle accident HUMBERTO RICARDO
                    PULIDO LARA has been involved in and each traffic violation
                    for which he has either paid a fine or attended a school in lieu
                    of a fine for the last seven years, give the following information:
                    a) Where it occurred (State, City, county, Court). b) When it
                    occurred (Month, Day, Year). c) All injuries claimed and when
                    and where any claims or suits were filed. d) Final disposition or
                    current status of each traffic violation and accident.




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         12.1.18     Does the Defendant know whether HUMBERTO RICARDO
                     PULIDO LARA had any felony convictions prior to April 10,
                     2015 (not exceeding 10 years from date of prison release). If
                     so, please enumerate each conviction with its respective year
                     and place/county/state of disposition.

         12.1.19     Was a drug or alcohol test administered within 24-hours of the
                     collision in question? If so, what was the result of each test? If
                     one was not administered, please state the reason.

                        Documents to Be Produced

         12.1.20     A copy of the HUMBERTO RICARDO PULIDO LARA's driver's
                     license.

         12.1.21     A copy of the written records of HUMBERTO RICARDO
                     PULIDO LARA's personnel file, as required to be kept by
                     CARLOS GAYTAN ELIAS D/B/A SUPER TRANSPORTES
                     GAYTAN.

         12.1.22     A copy of the written record of HUMBERTO RICARDO PULIDO
                     LARA's application for employment, as required to be kept by
                     CARLOS GAYTAN ELIAS D/B/A SUPER TRANSPORTES
                     GAYTAN.

         12.1.23    A copy of the written record of HUMBERTO RICARDO PULIDO
                    LARA's past employers who were contacted prior to hiring and
                    a copy of the response by each State agency involving
                    investigations and inquiries, as required to be kept by CARLOS
                    GAYTAN ELIAS D/B/A SUPER TRANSPORTES GAYTAN.

         12.1.24    A copy of the written record of HUMBERTO RICARDO PULIDO
                    LARA's driver's road test issued to the driver, or a copy of the
                    license or certificate which the motor carrier accepted as
                    equivalent to the driver's road test, as required to be kept by
                    CARLOS GAYTAN ELIAS D/B/A SUPER TRANSPORTES
                    GAYTAN.

         12.1.25    A copy of the written record of each State agency response to
                    HUMBERTO RICARDO PULIDO LARA's annual driver record
                    inquiry, as required to be kept by CARLOS GAYTAN ELIAS
                    D/B/A SUPER TRANSPORTES GAYTAN.


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         12.1.26     A copy of the written record of HUMBERTO RICARDO PULIDO
                     LARA's annual review as required to be kept by CARLOS
                     GAYTAN ELIAS D/B/A SUPER TRANSPORTES GAYTAN.

         12.1.27    A copy of the written record of HUMBERTO RICARDO PULIDO
                    LARA's violation of motor vehicle laws and ordinances, as
                    required to be kept by CARLOS GAYTAN ELIAS D/B/A
                    SUPER TRANSPORTES GAYTAN.

         12.1.28     A copy of HUMBERTO RICARDO PULIDO LARA's vehicle
                     daily inspection reports of the vehicle he was driving on April
                     10, 2015, as required to be kept by CARLOS GAYTAN ELIAS
                     D/B/A SUPER TRANSPORTES GAYTAN.

         12.1.29     A copy of the written record of HUMBERTO RICARDO PULIDO
                     LARA's medical examiner's certificate to drive commercial
                     motor vehicles, as required to be kept by CARLOS GAYTAN
                     ELIAS D/B/A SUPER TRANSPORTES GAYTAN.

         12.1.30    A copy of the written record of any controlled substance or
                    alcohol misuse by HUMBERTO RICARDO PULIDO LARA, as
                    required to be kept by CARLOS GAYTAN ELIAS D/B/A
                    SUPER TRANSPORTES GAYTAN.

         12.1.31     Any records or documentation (medical or non-medical)
                     concerning HUMBERTO RICARDO PULIDO LARAthatwould
                     indicate whether HUMBERTO RICARDO PULIDO LARA was
                     using alcohol and/or drugs (including prescription or
                     nonprescription, legal or illegal drugs) within forty-eight (48)
                     hours prior to the collision in question.

         12.1.32     Any records or documentation (medical or non-medical)
                     concerning HUMBERTO RICARDO PULIDO LARAthatwould
                     indicate that HUMBERTO RICARDO PULIDO LARA had
                     alcohol and/or drugs (including prescription or nonprescription,
                     legal or illegal), or metabolites of alcohol and/or drugs(including
                     prescription or nonprescription, legal or illegal) in the
                     bloodstream or urine at the time of or the time following the
                     collision in question.

         12.1.33     Any records or documentation (medical or non-medical) that
                     would indicate that HUMBERTO RICARDO PULIDO LARA was


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                     a user of any illegal substance(s) within three (3) years
                     preceding the collision in question.

         12.1.34     Produce any and all documents regarding any unemployment
                     claim, worker's compensation claim or any other type of claim
                     filed by HUMBERTO RICARDO PULIDO LARA relating to her
                     employment with your company for the period three (3) years
                     prior to the day of the collision, which is the subject of this
                     lawsuit, and up to the present day.

         12.1.35     Please provide HUMBERTO RICARDO PULIDO LARA's
                     training record.

         12.1.36     Please provide all materials used by you to train HUMBERTO
                     RICARDO PULIDO LARA, including, but not limited to, all
                     manuals, videotapes, seminar materials and pamphlets.

         12.1.37     Please provide all receipts signed by HUMBERTO RICARDO
                     PULIDO LARA evidencing his receipt of the materials used to
                     train him.

         12.1.38     Please provide all books, pamphlets, memorandum, letter, or
                     other documents containing your policy on alcohol misuse and
                     controlled substance use.

         12.1.39     Please provide all receipts signed by HUMBERTO RICARDO
                     PULIDO LARA evidencing her receipt of books, pamphlets,
                     memorandum,letter, or other documents containing your policy
                     on alcohol misuse and controlled substance use.

         12.1.40    Please provide all materials, letters, manuals, and/or
                    memorandums describing the company's policy regarding the
                    supervision and retention of its employees, including but not
                    limited to any grading system used to keep track of employee
                    performance (i.e: ride-along; points systems; shadowing driver;
                    following driver; complaint telephone numbers).

         12.1.41     Please provide any documentation concerning HUMBERTO
                     RICARDO PULIDO LARA involving disciplinary actions,
                     demerits, reprimands or incidents indicating less than
                     satisfactory job performance.




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         12.1.42     Please provide any cell phone bills that would show whether or
                     not HUMBERTO RICARDO PULIDO LARA was using a cell
                     phone on April 10, 2015. This request includes, but is not
                     limited to, cell phone bills for the day of the wreck.

         12.1.43     Please provide any and all documents related to HUMBERTO
                     RICARDO PULIDO LARA's employment as a driver, including
                     but not limited to log books, trip sheets, fuel receipts, work
                     orders, bills of lading, com. card receipts, expense records and
                     any other documents that would show HUMBERTO RICARDO
                     PULIDO LARA's trip movements for April 10,2015 and ten (10)
                     days prior.

         12.1.45     Please provide a copy of the title and registration of the vehicle
                     driven by HUMBERTO RICARDO PULIDO LARA that is the
                     subject of this lawsuit.

         12.1.46     Please provide documentation evidencing CARLOS GAYTAN
                     ELIAS D/B/A SUPER TRANSPORTES GAYTAN's ownership
                     of the vehicle operated by HUMBERTO RICARDO PULIDO
                     LARA on April 10, 2015, which is the subject of this lawsuit.

         12.1.47     A copy of the Inspection, Repair and Maintenance of the vehicle
                     driven by HUMBERTO RICARDO PULIDO LARA on April 10,
                     2015.

         12.1.48     All citations or warnings issued by any governmental agency
                     dating one year prior to April 10, 2015,for the vehicle driven by
                     HUMBERTO RICARDO PULIDO LARA which is the subject of
                     this lawsuit, regardless of whether HUMBERTO RICARDO
                     PULIDO LARA was driving the vehicle when the citation or
                     warning was issued.

         12.1.49     Please provide all documents and tangible things that comprise,
                     reflect, or relate in any way to any repairs or maintenance made
                     at any time on the vehicle which HUMBERTO RICARDO
                     PULIDO LARAwas driving for the period of three(3)years prior
                     to the date of accident, April 10, 2015, and up to the present
                     day; including but not limited to maintenance log book(s) and
                     repair log book(s).

         12.1.50     All repair orders, repair receipts, and repair estimates for the
                     vehicle driven by HUMBERTO RICARDO PULIDO LARA for

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                     the period of three (3) years prior to the date of accident, April
                     10, 2015, and up to the present day.

         12.1.51     All documents which refer or relate to the property damage,
                     including estimates or appraisals and photographs,of the motor
                     vehicles involved in the collision made the basis of this lawsuit.

         12.1.52    Any and all photographs or videos in your possession which
                    depict any and all of the motor vehicles involved in the collision
                    which is the subject of this lawsuit, including, but not limited to
                    the vehicle driven by the Plaintiff and those of the motor vehicle
                    which was driven by HUMBERTO RICARDO PULIDO LARA
                    (pre-collision photographs and post-collision photographs).
                    Please supply 8" x 10" photographs.

         12.1.53     Copies of any and all statements in Defendant's possession of
                     any person having knowledge of relevant facts concerning the
                     subject matter of this lawsuit, including any written statement
                     and any stenographic, mechanical, electrical or other type of
                     recording or any transcription thereof made by any person with
                     relevant facts hereto and contemporaneously recorded.

         12.1.54     Please provide all documents which constitute any and all
                     communication or correspondence between CARLOS GAYTAN
                     ELIAS D/B/A SUPER TRANSPORTES GAYTAN and your
                     liability insurance carrier or its employees (including, but not
                     limited to, any and all correspondence between you and your
                     liability insurance carrier which you sent or received) between
                     April 10, 2015 and the day on which you or your liability
                     insurance carrier were notified that Plaintiff was represented by
                     legal counsel.

         12.1.55     Please provide all investigation notes, reports, and
                     correspondence which refer to any aspect of the April 10, 2015
                     collision made the basis of this claim before notice of this suit
                     was received.

         12.1.56     Please provide all letters, memorandums, and other written
                     correspondence which was sent by CARLOS GAYTAN ELIAS
                     D/B/A SUPER TRANSPORTES GAYTAN to any and all
                     employees, agents or representatives of your liability insurance
                     carrier or which was received by you from any and all
                     employees,agents,or representatives of your liability insurance


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                     carrier and which are not privileged under the Texas Rules of
                     Civil Procedure.

         12.1.57     Please provide all taped or audio recordings made of
                     conversations or conferences (telephonic or face-to-face)
                     between CARLOS GAYTAN ELIAS D/B/A SUPER
                     TRANSPORTES GAYTAN and any and all employees, agents
                     or representatives of your liability insurance carrier,same which
                     your company has a superior right to obtain from your liability
                     insurance carrier, and same which are not privileged under the
                     Texas Rules of Civil Procedure.

         12.1.58     Please provide all photographs of the scene of the collision in
                     your possession.

         12.1.59     Please provide all records or documents which you have
                     provided or produced to any state or federal agency pertaining
                     to the April 10, 2015 collision made the basis of this lawsuit.

         12.1.60     Please provide a copy of the insurance coverage and/or
                     Declaration Page for the Defendant's vehicle in question.

         12.1.61     Please provide a copy of any excess or umbrella policies that
                     could potentially cover this incident.

         12.1.62    In the event that the vehicle in questions was not properly
                    insured at the time of the accident in question, please provide
                    financial statements for the last three(3) years of the person or
                    company that owns this vehicle, specifically their "net worth."

         12.1.63     Please provide all discoverable correspondence and other
                     documents sent to any testifying expert.

         12.1.64     Please provide all discoverable correspondence and other
                     documents received from any testifying expert.

         12.1.65     Please provide a time and place for the inspection of the vehicle
                     which is the subject of this lawsuit.




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                                     13.
REQUEST FOR ADMISSIONS TO CARLOS GAYTAN ELIAS D/B/A SUPER TRANSPORTES GAYTAN

      13.1   Plaintiff makes the following Requests for Admission pursuant to Rule 198 of

the Texas Rules of Civil Procedure. Responses are due 50 days after service of these

Requests, and should be made to the address of Plaintiffs attorney. You must specifically

admit or deny each Request. A failure to specifically answer any Request, or an evasive

answer to any Request, will be taken as an admission of truth of such Request.

             13.1.1        Please Admit or Deny that the 1998 International tractor trailer
                           operated by Humberto Ricardo Pulido Lara, on April 10, 2015,
                           was owned by CARLOS GAYTAN ELIAS D/B/A SUPER
                           TRANSPORTES GAYTAN.

             13.1.2        Please Admit or Deny that Humberto Ricardo Pulido Lara, was
                           employed by the CARLOS GAYTAN ELIAS D/B/A SUPER
                           TRANSPORTES GAYTAN on or about April 10, 2015.

             13.1.3        Please Admit or Deny that Humberto Ricardo Pulido Lara, was
                           acting within the scope of his employment on April 10, 2015,
                           when this alleged incident which is the basis of this lawsuit
                           occurred.

             13.1.4        Please Admit or Deny that at the time of the occurrence of the
                           act in question and immediately prior thereto, Humberto
                           Ricardo Pulido Lara was engaged in the furtherance of
                           Defendant, the CARLOS GAYTAN ELIAS D/B/A SUPER
                           TRANSPORTES GAYTAN 's business.

             13.1.5        Please Admit or Deny that at the time of the occurrence of the
                           act in question and immediately prior thereto Defendant, the
                           CARLOS GAYTAN ELIAS D/B/A SUPER TRANSPORTES
                           GAYTAN entrusted the vehicle to Humberto Ricardo Pulido
                           Lara.

             13.1.6        Please Admit or Deny that at the time of the occurrence of the
                           act in question and immediately prior thereto Defendant, the
                           CARLOS GAYTAN ELIAS D/B/A SUPER TRANSPORTES



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                     GAYTAN entrusted the vehicle to Humberto Ricardo Pulido
                     Lara, a reckless and incompetent driver.

         13.1.7      Please Admit or Deny that at the time of the occurrence of the
                     act in question and immediately prior thereto Defendant the
                     CARLOS GAYTAN ELIAS D/B/A SUPER TRANSPORTES
                     GAYTAN knew, or through the exercise of reasonable care
                     should have known, that Humberto Ricardo Pulido Lara was a
                     reckless and incompetent driver.

         13.1.8      Please Admit or Deny that at the time of the occurrence of the
                     act in question and immediately prior thereto Defendant the
                     CARLOS GAYTAN ELIAS D/B/A SUPER TRANSPORTES
                     GAYTAN failed to use ordinary care in the hiring of competent
                     employees, and in the supervision, training or retention of their
                     employees.

         13.1.9      Please Admit or Denythat Humberto Ricardo Pulido Lara failed
                     to control his speed, thereby causing the accident made the
                     basis of the suit.

         13.1.10     Please Admit or Deny that Humberto Ricardo Pulido Lara was
                     operating his vehicle at an unsafe speed at the time of the
                     collision, thereby causing the accident made the basis of the
                     suit.

         13.1.11     Please Admit or Deny that Humberto Ricardo Pulido Lara failed
                     yield the right of way to pedestrian, thereby causing the
                     accident made the basis of the suit.

         13.1.12    Please Admit or Deny that Humberto Ricardo Pulido Lara
                    failed to keep a proper lookout at the time of the incident made
                    the basis of this suit and caused the accident.

         13.1.13    Please Admit or Deny that Humberto Ricardo Pulido Lara
                    failed to operate the vehicle in a reasonably prudent or
                    responsible manner at the time of the incident made the basis
                    of this suit and was solely responsible for causing this accident.

         13.1.14     Please Admit or Deny Humberto Ricardo Pulido Lara, injured
                     PLAINTIFF on April 10, 2015, with a vehicle owned by the
                     CARLOS GAYTAN ELIAS D/B/A SUPER TRANSPORTES
                     GAYTAN.


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             13.1.15       Please Admit or Deny that PLAINTIFF have incurred
                           reasonable and necessary medical expenses as a direct result
                           of the incident which is the subject of this lawsuit.

             13.1.16       Please Admit or Deny that GERARDO RODRIGUEZ will incur
                           reasonable and necessary future expenses as a direct result of
                           the incident which is the subject of this lawsuit.

             13.1.17       Please Admit or Deny that GERARDO RODRIGUEZ incurred
                           damages as a direct result of the incident which is the subject
                           of this lawsuit.

             13.1.18       Please Admit or Deny that GERARDO RODRIGUEZ has
                           incurred physical pain and suffering damages in the past, and
                           will continue to incur physical pain and suffering damages in the
                           future.

             13.1,19       Please Admit or Deny that GERARDO RODRIGUEZ has
                           incurred lost wages and loss of earning capacity in the past,
                           and will continue to incur lost wages and loss of earning
                           capacity in the future.

             13.1.20       Please Admit or Deny that GERARDO RODRIGUEZ has
                           suffered mental anguish in the past and in the future.

                                        14.
                               MAXIMUM AMOUNT CLAIMED

      14.1   Plaintiff seeks damages within the jurisdictional limits of this court. Pursuant

to pleading requirements under Texas Rules of Civil Procedure 47, Plaintiff affirmatively

pleads that he seek monetary relief over $200,000.00 but no more than $1,000,000.00.




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                                          PRAYER

       WHEREFORE,PREMISES CONSIDERED,Plaintiff, Gerardo Rodriguez respectfully

pray that the Defendants be cited to appear and answer herein, and that upon a final

hearing of the cause,judgment be entered for the Plaintiff against Defendants,jointly and

severally,for damages in an amount within the jurisdictional limits of the Court; together with

pre-judgment interest at the maximum rate allowed by law; post-judgment interest at the

legal rate, costs of court; and such other and further relief to which the Plaintiff may be

entitled at law or in equity.

                                           Respectfully submitted,

                                           LAW OFFICES OF JAVIER VILLARREAL, PLLC
                                           2401 Wild Flower Dr., Suite A
                                           Brownsville, Texas 78526
                                           Tel.(956)544-4444
                                           Fax.(956)550-0877

                                           By:        /ficolot Orilaned
                                                  Javier Villarreal
                                                  Texas Bar No. 24028097

                                                  Daniel Torres
                                                  State Bar No. 24046985

                                           COUNSEL FOR PLAINTIFF


                      PLAINTIFF HEREBY DEMAND TRIAL BY JURY




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                    COURTESY NOTICE TO DEFENDANT

      If you had insurance at the time of the accident, please forward a copy of this

petition to your insurance company immediately.

Adjuster: Joan Higley
American Claims Management
P.O. Box 9060
Carlsbad, CA 92011

Re. Claim No. 2-33729
Insured: Carlos Gaytan Elias
Driver: Humberto Ricardo Pulido Lara
Claimant: Gerardo Rodriguez
Date of Loss: April 10, 2015

Tel:(760)827-4816




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                                                                                                                      Esther Degollado
                                                                                                                          District Clerk

                                                  VILLARREAL                                                             Webb District
                                                                                                                        Michelle Garza
                                                                                                                   2017CVA000689D1

                                                     BEGUM
                                                         LAW GROUP
 JAVIER VILLARREAL                         2401 WILD FLOWER DRIVE. SUITE A
   9,1810a7001 0001                           BROWNSVILLE,TEXAS 78526                  Luis BmIamMe, Legal AssislaM
                                                TELEPHONE 056.544.4444                      1 tiAOWYN)0111.1.,c),19
 DANIEL TORRES                                     FAX 956.550.0877
 OiM.ig,[f(1.Alfli)(1)),L;ffil



                                                  April 12, 2017

Esther Degollado                                                        Via Electronic Service
Attn: Esmeralda
Office of the District Clerk, Webb County, Texas
I 110 Victoria Street, Suite 203
Laredo, Texas 78040

            Re:           Cause No,2017CVA000689 DI; Gerardo Rodriguez v. Carlos Gaytan Elias D/B/A
                          Super Transportes Gaytan and Humbert Ricardo Pulido Lara;
                          In the 49th Judicial District Court; Webb County, Texas

Dear Ms. Degollado:

       Please be advised that citation be and is hereby requested to be issued to Defendant
Humberto Ricardo Pulido Lara. Defendant Pulido Lara may be served by and through the Texas
Transportation Commission at the address listed in Plaintiff's original petition.

       Once the citation is prepared, our process server will then collect the citation and serve it
accordingly.

            Should you have any questions or concerns, please do not hesitate to contact me.

                                                              Cordially yours,

                                                              VILLARREAL & BEGLIM                L

                                                           (2- CDA—c/k,
                                                              Laura Bustaman
                                                              Paralegal

/lb
Encl.                                                                     t)\. A Tr      copy of the original
                                                                                                           fw     certify, 20   i
                                                                                             I HER DE GOLLADO
                                                                                      ,err. of the District Courts and
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                                                                                                            4}`         eputy
  Case 5:17-cv-00125 Document 1-1 Filed in TXSD on 06/22/17 Page 31 of 39


                                                                           iftETURN
                                                                    2017CVA000689D1
                                      CITATION
THE STATE OF TEXAS
COUNTY OF WEBB
                                                               AN
                                  E BEEN SUED. YOU MAY EMPLOY
NOTICE TO THE DEFENDANT: "YOU HAV
                                           FILE A WRITTEN ANSWER
ATTORNEY.  IF YOU OR YOUR ATTORNEY DO NOT
                                                              THE
                               S CITATION BY 10:00 A.M. ON
WITH THE CLERK WHO ISSUED THI                          AFT ER YOU
                              IRATION OF TWENTY DAY  S
MONDAY NEXT FOLLOWING THE EXP                              NT MAY
                           AND PETITION, A DEFAULT JUDGME
WERE SERVED THIS CITATION
BE TAKEN AGAINST YOU."
                                                                                       BY
                                    SUPER TRANSPORTES GAYTAN
TO:   CARLOS GAYTAN ELIAS D/B/A
                                   ALFREDO ALARCON SLAS
      SERING OTS REGISTERED AGENT:
      801 PELLEGRINO
      LAREDO TX 78045
                                                                      SE, YOU ARE
                                ER STYLED AND NUMBERED CAU
DEFENDANT, IN THE HEREINAFT                                             rt of Webb
                                BEFORE THE 49th District Cou
HEREBY COMMANDED TO APPEAR                                           county in the
                                the said courthouse of said
County, Texas, to be held at                                  tten  ans  wer to the
                              , Texas, by filing a wri
city of Laredo, Webb County                                       for   Adm issions,
                              for Disclosure, Requests
Original Petition Request                                        iff  at  or  before
                             ts for Production of Plaint
Interrogatories, and Reques                                   ira tio n  of  20  days
                             Monday next after the exp
10:00 O'CLOCK A.M. of the                                    ch  acc omp ani es  this
                           e thereof, a copy of whi
after the date of servic
                            2017CVA000689D1 , styled:
citation, in the Cause #:                          INTIFF
                     GERARDO RODRIGUEZ, PLA
                                       VS.
                                                                          HUMBERTO p
                ELI AS, D/B  /A   SUP ER  TRANSPORTES GAYTAN JUO                r•-.3
 CARLOS GAYTAN                                                                  co

                       ARDO   PUL  IDO  LAR A,  DEF ENDANTS
                   RIC                                                                 cp
                                                                for           OSare,C,n
                               al    Pet iti on   Req  ues t
 Said  Plaintiff's    Origin                                                          or-n C3.71

                                    Int err oga tor ies ,   and     R
 Requests   for  Admissions,                                                           n
                                                     d court by:
 Production was  fil ed on 04/06/2017 in sai                                           Orelfl
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                                          FOR  PLA INT IFF
      JAVIER VILLARREAL, ATTORN
                                      EY                                         -o
                                 SUITE A
      2401 WILDFLOWER DRIVE                                                      r
      BROWNSVILLE TX    785  26
                                                                                     no
                                                   B COUN                         TEfAS,
                          , DISTRICT CLERK OF WEB
 WITNESS ESTHER DEGOLLADO                        d court                         office,
                         my hand and seal of sai
 Issued and given under
                          April, 2017.
 on this the 12th day of

                                           0    F      COURT
                    CLERK

                                                    ESTHER DEGOLLADO
   THIS CASE IS SET FOR                             WEBB COUNTY DISTRICT C
    CALENDAR CALL ON                                P.O. BOX 667
                                                        DO T. 78042
 JULY 6, 2017 AT 1:30 P.M.
                                    BY:
                                                     YNTHIA M     G RZA
Case 5:17-cv-00125 Document 1-1 Filed in TXSD on 06/22/17 Page 32 of 39




                                AFFIDAVIT OF SERVICE

                           CAUSE.NOolpacal,a(2)12_/21._

 STATE OF TEXAS
 COUNTY OF WEBB
                                   AFFIDAVIT
       BEFORE ME,a Notary Public in and for the State of Texas,came and
 appeared the undersigned,of legal age,who by me,being first duly sworn, under
 oath hereby deposes and says.

     "My name is Josefina Soliz, and my place of business is at 408Toro Loop,
Laredo,Texas 78045.1 am a duly authorized process server under rule 103 ofthe
Texas Rule of Civil Procedure".Theforegoing instrument:

CAME TO HAND on the ),)--day of           Fprir           ,2017,at V:05cedock_e.M.

'IT WAS EXECUTED att)5R6 Lareclo, vekron's 2 rzreke 75f                - 7,60(10
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       -            ANNISIWIS


FURTHER AFF1ANT SAYENTH NOT

                                 J    na Soliz,Civil P                         SCH1158
                                 Expires on 9/30/17

SUB..
    tIBED AND SWORN TO BEFORE ME,a Notary Public,on this itSt- day of
    MG9           ,2017,

                                                   torna N
                                                    Tpusuc,STA       OF TEXAS


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                                   () \-(f)\%,          / co7Coo    , c   rourt at cap,  tt       oun y Texas
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                                      11                                            QX           ---A Ceputy
                          Case 5:17-cv-00125 Document 1-1 Filed in TXSD on 06/22/17 Page 33 of 39

                  •




                     USPS Tracking.Results                                                                                                             FAQs    (http:Maq.usps.comITarticleld=22 900)




                                                                            Track Another Package +



                                                                                                                                                                                         Remove
                                    Tracking Number: 70101060000190249833


                                                                                                                                                      Delivered

                                    Product & Tracking Information                                                                                               See Available Actions


                                    Postal Product:                        Features:
                                    Putt-Class Melia                       Certified Mail Restricted Delivery
                                                                           Return Receipt
                                                                           See tracking for related item: 9590940302785155202121
                                                                           (lrp/TrackCanfirmActionttLabels=9590940302785155202121)



                                                       DATE & TIME                                   STATUSOEITEM                                             LOCATION


                                        Apr 2a, 2017,12:23 pm                            Delivered,Individual Picked Up at                  LAREDO,TX nats
                                                                                                   lllty
         U.S. Postal Service.a,
         CERTIFIED IVIAILn, RECEIPT                                                              April 26, 2017 in LAREDO, TX 75045.
 rn     (Domestic Mall Only;No Insurance C'uveroge Pout!'led)
                                  at..
         For delivery information vie't on websit.... at www.ust,:4.com- •                      eft(No Authorized Recipient                LAREDO, TX 78045
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                          Postage   $
                                                                           115                  d USPS Facility                            SAN ANTONIO, TX 78284
                  Certified Fee
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        Return Receipt Fee                                                   e
 D (Endorsement Required)                                                                       at USPS Facility                           SAN ANTONIO, TX 78284

        Restricted Delivery Fee
       (Endorsement Required)
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          Faro 3800, Angus! 2000                              See Reyes e for Instructions
 alt,                         .1 •
  • Pant your name and address on the reverse                                                                 0 Agent
                                                                              it"-elell in .4/41         4—
     so that we can return the card to you.                                                                    O Addressee
                                                                            Alr
                                                                           It. Received by fRantad Name)  C. Date of Delivery
,,z1 Attach this card to the back of the mallplece,
     or on the front if space permits.                                      Uaw M.             1),Lettp.vil-,.
 1. Article Addressed to:                                                  D. Is delivery address different from item 1? ❑ Yes
                                                                              If YES, enter delivery address below:      ❑ No
       r 10,5 6014a                     rilta
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 lot r&ttegcli-00                                                                                                                                    ns.
 Laredo,- IN1%045                                                      3. Service Type                                El Priority Moll Express®
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   111111111111111101111101111111111 1111                              0 Adult Signature Restricted Delivery
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                                                                                                                      0 Registered Mall Restricted
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           9590 9409 0278 5155 2021 21                                        Med Mall Restricted DelNery             O Return Receiptfor
                                                                                                                         Merchandise
                                                                         Collect on Delivery
                                                                       0 Collect on Delivery Rep(tiated Delivery      0 Signature Confirmation's
 2.     tele Number (Transfer from service label)                              Id Mall                                0Signature ConfinnatIrm
                                                                                                                         Restdoted Delivery
       7010 1060 0001 9024 9833                                                KJ Mall Postdated oaken/
                                                                                 $500)
                                                                                                                     Domestic Return Receipt
 Wrorm 3811, April 2015 PSN 7530-02-000-9053
 Case 5:17-cv-00125 Document 1-1 Filed in TXSD on 06/22/17 Page 34 of 39


                                                                   AtTURN
                                                             2017CVA000689D1
                                  CITATION


THE STATE OF TEXAS
COUNTY OF WEBB

                                         SUED. YOU MAY EMPLOY AN
NOTICE TO THE DEFENDANT: "YOU HAVE BEEN
                                                A WRITTEN ANSWER
ATTORNEY.  IF YOU OR YOUR ATTORNEY DO NOT FILE
                                     TION BY 10:00 A.M. ON THE
WITH THE CLERK WHO ISSUED THIS CITA
                                       OF TWENTY DAYS AFTER YOU
MONDAY NEXT FOLLOWING THE EXPIRATION
                                       , A DEFAULT JUDGMENT MAY
WERE SERVED THIS CITATION AND PETITION
BE TAKEN AGAINST YOU."

                                           ING THE CHAIRPERSON OF
TO:   HUMBERTO RICARDO PULIDO LARA BY SERV
      818 RIO CORDAN      THE TEXAS TRANSPORTATION COMMISSION
      NUEVO LAREDO MM 00000         C/O TRYON D. LEWIS
                                    125 E. 11TH STREET
                                    AUSTIN, TX 78701

                                      ED AND NUMBERED CAU           YOU ,ARE
DEFENDANT, IN THE HEREINAFTER STYL                                   of Webb
                                      THE 49th    Dist rict
HEREBY COMMANDED TO APPEAR BEFORE                                      in,the
                                        courthou  se of  said
County, Texas, to be held at the said                     ten     er   to5  the 15-:
                                      by fili  ng  a writ
city of Laredo, Webb County, Texas,                         for     isst   pus, !
                                  Disclosu re,  Requ ests
Original Petition Request for                                       r before
                                    Producion of Plaintiff
Interrogatories, and Requests for                         rati    f   20 days
                                   next  afte r the  expi
10:00 O'CLOCK A.M. of the Monday                                   ies.    this
                                 eof, a copy of which acc
after the date of service ther
                               CVA000689D1 , Styled:
citation, in the Cause #: 2017                                          C.)
                     GERARDO RODRIGUEZ, PLAINTIFF
                                   VS.
                       S D/B/A  SUPE R TRANSPORTES GAYTAN; HUMBERTO
   CARLOS GAYTAN ELIA
                                                      TS
                   RICARDO PULIDO LARA, DEFENDAN
                                  Peti tion   Requ  est   for   Disclosure,
 Said  Plaintiff's    Original
                                                       and    Requests      for
            for  Admissions,     Interrogatories
 Requests
                                     17 in said court by:
 Production was filed on 04/06/20
                                           PLAINTIFF
      JAVIER VILLARREAL, ATTORNEY FOR
                                      A
      2401 WILDFLOWER DRIVE SUITE
      BROWNSVILLE TX 78526
                                                        TY, TEXAS,
                            DISTRICT CLERK OF WEBB COUN
 WITNESS ESTHER DEGOLLADO,                              at office,
                           hand and seal of said court
 Issued and given under my
                              l, 2017.
 on this the 12th day of Apri


                                      OF        COURT
                 CLERK
                                                                         of wE8e1/4k\
                                             ESTHER DEGOLLADO
CASE IS SET FOR CALENDAR                     WEBB COUNTY DISTRICT
         CALL ON                             P.O. BOX 667
                                             LAR 0, X 2 42
 JULY 6,2017 AT 1;30 P.M.
                                BY:
                                             CYCfTFil1A M. GARZA
Case 5:17-cv-00125 Document 1-1 Filed in TXSD on 06/22/17 Page 35 of 39

       UNITED STATES POSTAL SERVICE                              First-Class Mall
                                                                 Postage & Fen Paid
                                                                 USPS
                                                                 Permit No. GAO

           •Sender: Please printpur naTe, address, and ZIP+4® in this box•
                              tia-56+144 o Solt'7_,
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                                       o,TX,
                                         €60/45


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              9590 9403 0278 5155 2020 53
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  Case 5:17-cv-00125 Document 1-1 Filed in TXSD on 06/22/17 Page 36 of 39




                                                                                                       FACts   (httednag.usps.cont/Tardeleld=220900)
USPS Tracking Results

                                            Track Another Package +



                                                                                                                                           Remove


      Tracking Number 70101060000190249864


                                                                                                       Delivered

      Updated Delivery Day: Monday, April 17,2017
      Product & Tracking Information                                                                               See Available Actions


      Postal Product:                       Features:
      First-Class MaId                      Certified Mall Restricted Delivery
                                            Return Receipt

                                           See tracking for related item: 9590940302785155207063
                                           (lgorTrackContbroActlon7tLabels1901}40302785155202053)



                         DATE& TIME                                    STATUS OF ITEM                          LOCATION



         April 17, 2017,701 am                           Delivered                              AUSTIN,TX 78714


            YOU( Item was delivered at 7:01 am on Apdl 17, 2017 in AUSTIN,TX 75714.



         Apr1116, 2017. 6:01 am                          Availa bleier Pickup                   AUSTIN. TX 78714



         April16, 2017 3:32 am                           ArrNed at Hub                          AUSTIN. TX 78714



         April 15, 2017, 3:09 pm                         In Transit to Destination


                                                                                                                          See More




      Available Actions

         Text Updates


         Email Updates



                                                                        See Less




                                               Can't find what you're looking for?
                                         Go to our FAGS section to find answers to your tracking questions.


                                                   FAQs(http://faAusps.com/7arlicleld=220900)
Case 5:17-cv-00125 Document 1-1 Filed in TXSD on 06/22/17 Page 37 of 39
                      U.S. Postal Service im
                     CERTIFIED siVIAIL, RECEIPT
                         (Domestic Mail Only; No Insurance Coverage Provided)


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                         For delivery infortnation visit our website at www.uspocoma



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                          Total Postage & Fees                          11      6/2017
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                        PS Form 3800, Angunt 2006                     See Reverse for bleb onion,
Case 5:17-cv-00125 Document 1-1 Filed in TXSD on 06/22/17 Page 38 of 39

   SENDER: COMPLETE THIS SECTION                        COMPLETE 17-It‘ .,.SCTION ON DELIVERY

   • Complete Items 1, 2, and 3.
                                                                                                             Gi Agent
   •Print your name and address on the reverse
      so that we can return the card to you.                                                                0 Addressee
                                                                     .'113 AQ411.1t. —
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                                                                    011                                  4 Date of Delivery
   ▪ Attach this card to the back of the mailpiece,
      or on the front if space permits.                            111.
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   1. Article Addressed to:                              D. Is del very address   rent from e ? D Yes

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                                                            If YES,enter delivery address below;             0 No


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    A)5-fi.o,15( t7oi-J-7(83                          3. Service Type                             13 PrbrftY Mail Express®
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    71110 1060 0001 9024 9864                            isured Mall Restricted Delivery             Restricted Delivery
                                                       ‘aver MO)
   PS Form 3811, April 2016 PSN 7530-02-000-9053                                              Domestic Return Receipt
Case 5:17-cv-00125 Document 1-1 Filed in TXSD on 06/22/17 Page 39 of 39




                          AFFIDAVIT OF SERVICE

                     CAUSE.NO300Ciiat7006%10 I.

STATE OF TEXAS
COUNTY OF WEBB
                                  AFFIDAVIT
      BEFORE ME,a Notary Public in and for the State ofTexas,came and
appeared the undersigned,of legal age,who by me,being first duly sworn, under
oath hereby deposes and says.

     "My name is Josefina Soliz,and my place of business is at 408Toro'mop,
Laredo,Texas 78045.1am a duly authorized process server under rule 103 ofthe
Texas Rule of Civil Procedure.Theforegoing instrument:

CAME TO HAND on the   aday of          4p r 11              ,20)7,at4i:Occedock i?.M.
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FURTHER AFFIANT SAYENTH NOT

                                    efina      Civil Process Se           ftSCH1158
                                   pires on 9/30/17
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SUBSCRIBED AND SWORN TO BEFORE ME,a Notary Public,on this                        day of
    ApV              2011.


                                                                TE OF TEXAS

                                                              ATru   copy of the original I certify.
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                            0                   i 40C             Court at La         bb County Texas
                                  t            1 COK                                   CA Deputy
                            ONV- ‘•
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